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10   Attorneys for Defendant STERLING JEWELERS INC.
11
                                     IN THE UNITED STATES DISTRICT COURT
12
                                        FOR THE DISTRICT OF ARIZONA
13
       RaeAnn Patton,                                   Case No.: 2:16-cv-02983-JJT
14
                        Plaintiff,                      JOINT NOTICE OF SETTLEMENT AS
15
              vs.                                       TO DEFENDANT STERLING
16                                                      JEWELERS INC.
       Sterling Jewelers Incorporated, et al.,
17
                    Defendants.
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20          TO ALL INTERESTED PARTIES:

21          NOTICE IS HEREBY GIVEN that plaintiff RaeAnn Patton (“Plaintiff”) and defendant

22   Sterling Jewelers Inc. (“Sterling,” and together with Plaintiff, the “Parties”) have reached an agreement

23   to resolve all claims alleged against Sterling in this action. The Parties are currently in the process of

24   finalizing a confidential settlement agreement. Once the agreement is finalized, the Parties will file a

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                                        JOINT NOTICE OF SETTLEMENT
                                                     -1-
                    Case 2:16-cv-02983-JJT Document 33 Filed 01/04/17 Page 2 of 3




 1   stipulation of dismissal pursuant to Rule 41 of the Federal Rules of Civil Procedure. As a result of the

 2   settlement between the Parties, the Parties are submitting this notice in lieu of a Joint Rule 26(f) Report.1

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 4              Dated: January 3, 2017                        PRICE LAW GROUP, APC

 5
                                                              By: /s/ David A. Chami (with permission)
 6                                                            David A. Chami
                                                              1204 E. Baseline Road, Suite 102
 7                                                            Tempe, Arizona 85283
                                                              Attorneys for Plaintiff RAEANN PATTON
 8

 9
                Dated: January 3, 2017                        MCGLINCHEY STAFFORD
10

11                                                            By: /s/ Brian A. Paino
                                                              Brian A. Paino
12                                                            18201 Von Karman Ave., Suite 350
                                                              Irvine, CA 92612
13                                                            Attorneys for Defendant STERLING JEWELERS, INC.
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27       Plaintiff intends to file a Joint Rule 26(f) Report with the sole remaining defendant Springleaf Financial Services, Inc.

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                                               JOINT NOTICE OF SETTLEMENT
                                                            -2-
              Case 2:16-cv-02983-JJT Document 33 Filed 01/04/17 Page 3 of 3



                                     CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on January 4, 2017, I electronically transmitted the foregoing

 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice
 4   of Electronic Filing to all CM/ECF registrants in this case.
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     /s/ Carol Rico
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                                   JOINT NOTICE OF SETTLEMENT
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